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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Ohio

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No. 1:23-MJ-00965
                                                                     )
                   LORENZO BRANDON                                   )
                                                                     )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    October 21, 2023              in the county of               Hamilton          in the
     Southern          District of               Ohio            , the defendant(s) violated:

            Code Section                                                       Offense Description


18 U.S.C. 371                                     Conspiracy
18 U.S.C. 1704                                    Theft of Mail Key
18 U.S.C. 2114(a)                                 Robbery of U.S. Property with Dangerous Weapon
18 U.S.C. 924(o)                                  Conspiracy to Use Firearm During and in Relation to a Crime of Violence




         This criminal complaint is based on these facts:
                   See Affidavit




         ✔ Continued on the attached sheet.
         u



                                                                                                Complainant’s signature

                                                                                     Brett Yenger, Postal Inspector, USPIS
                                                                                                 Printed name and title

Subscribed and sworn to before me by reliable electronic means, specifically, FaceTime video conference.

            Nov 20, 2023
Date:
                                                                                                   Judge’s signature

City and state:                           Cincinnati, Ohio                    Hon. Stephanie K. Bowman, U.S. Magistrate Judge
                                                                                                 Printed name and title
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                        AFFIDAVIT IN SUPPORT OF A COMPLAINT
                             AGAINST LORENZO BRANDON


        I, Brett Yenger, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

        1.      I make this affidavit in support of a Complaint against LORENZO BRANDON

for violations of 18 U.S.C. § 371 (Conspiracy), 18 U.S.C. § 1704 (theft of mail key), 18 U.S.C. §

2114(a) (Robbery of U.S. Property with Dangerous Weapon), and 18 U.S.C. § 924(o)

(Conspiracy to Use Firearm During and in Relation to a Crime of Violence).

        2.     I am a United States Postal Inspector, having been so employed since February,

2017. I am presently assigned to the Cincinnati Field Office, Pittsburgh Division of the United

States Postal Inspection Service (USPIS) with investigative responsibility for southwest Ohio and

northern Kentucky. I am a sworn federal law enforcement officer empowered to investigate

criminal activity involving or relating to the United States Postal Service (USPS) and/or U.S.

Mail. The crimes investigated include those such as theft, burglary, counterfeiting, robbery,

assault, homicide, narcotics, identity theft, mail theft, and fraud. I received initial training for

these types of investigations through the USPIS, Basic Inspector Training. I have received

additional on the job training for each of those areas.

        3.     I have gained experience through completion of the Basic Inspector Training (BIT)

in November of 2017. During BIT training, I was instructed in all phases of criminal

investigation, such as criminal law, search and seizure, field enforcement techniques, firearms

proficiency, drug and narcotics identification, drug and narcotics field testing, interviewing and

evidence collection. Since November 2017, I have worked with various federal, state, and local

law enforcement agencies in the prosecution of crimes involving the U.S. Mail and the U.S.
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Postal Service including but not limited to mail fraud, bank fraud, mail theft, burglaries,

robberies, homicides, dangerous mail investigations, and mailed narcotics.

       4.      This affidavit is intended to show only that there is sufficient probable cause for

the requested Complaint and does not set forth all of my knowledge about this matter.

                                      PROBABLE CAUSE

       5.      The United States, including the United States Postal Inspection Services

(USPIS), is conducting a criminal investigation of LORENZO BRANDON and others regarding

possible violations of 18 U.S.C. § 371 (Conspiracy), 18 U.S.C. § 1704 (theft of mail key), 18

U.S.C. § 2114(a) (Robbery of U.S. Property with Dangerous Weapon), and 18 U.S.C. § 924(o)

(Conspiracy to Use Firearm During and in Relation to a Crime of Violence).

                                     Tactics Used in Mail Theft

       6.      Based on your Affiant’s training and experience involving other criminal

investigations of mail theft and identity theft, together with the knowledge given to me by other

law enforcement personnel and other law enforcement agents, your Affiant knows:

            a. Persons use the U.S. Postal Service (USPS) to send various types of mail. First class

               mail is the most common type of mail sent by consumers via stamp and envelope.

               Some of the most common items sent in first-class mail by USPS customers are

               checks. As a result, criminals routinely target USPS first class mail to steal checks

               for the purpose of altering them and depositing them at financial institutions. Often,

               first-class mail is sent by USPS customers by placing an envelope with a stamp into

               a USPS blue mail collection box located on the street or in front of a post office.

               Criminals typically use one (1) of three (3) methods to steal these checks from USPS

               blue mail collection boxes. The first method is the use of a stolen proprietary USPS

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        key which opens these boxes, commonly referred to as an “Arrow Key.” These

        Arrow Keys are only used by the USPS and it is a federal offense for an

        unauthorized person to possess one. The second method is by picking the lock,

        either using a counterfeit Arrow Key or other burglary tools. The third method is

        referred to as “fishing.” Fishing is done by placing a weighted object (typically a

        block or bottle) covered in a sticky substance and attached to a string into the

        collection slot and then pulling it out via that string with any attached envelopes. In

        cases where personal checks are stolen, the pen ink is often removed by criminals in

        a process called “washing” and then re-written into the name of a person who

        deposits the altered check into their checking account. Persons who engage in this

        deposit activity are known as money mules.

     b. Checks are commonly washed by using a chemical, specifically, acetone (nail polish

        remover) to wash away the pen ink used to write information on a check without

        damaging the check or its higher quality ink. Other methods include using razor

        blades or erasers to remove the ink, although these methods will typically damage

        the check more than an effectively executed chemical washing. The criminal will

        then add unauthorized information on the check so it can be deposited into a money

        mule’s account. This is be done by hand or via printer. Sometimes the check’s

        information will also be saved (either in a ledger, electronic device, or electronic

        storage media) to enable the creation of counterfeit checks which are printed using a

        computer, printer and blank check stock.

     c. Once the check has been washed and re-written, the recruiter will co-ordinate with

        the mule to have the check placed into the mule’s account. If the forgery is not

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        detected by the bank and funds are credited to the mule’s account, the money is then

        removed from the bank account via transfer, purchases, or cash withdrawals before

        the check’s alteration is noticed, the bank alerted, and the charges reversed. Business

        checks are often altered in a similar manner, however sometimes the depositor will

        instead falsely endorse the check to his/herself without altering the checks face.

        Money mules and those they work for often use mobile deposits for these checks,

        because it is believed the computers that approve checks deposited by mobile

        application are less likely to detect alteration than a person. The person who recruits

        money mules into the schemes are referred to as recruiters.

     d. Individuals involved in check fraud, credit card theft, credit card fraud and identity

        theft offenses frequently keep evidence associated with their activities in their

        residences, vehicles, and places of business. These can include records of items

        improperly taken and/or received, records of transactions, information identifying

        victims, accomplices or co-conspirators, and records listing and/or identifying the

        nature and location of the proceeds of unlawful activity. They will also store

        materials in multiple locations and maintain multiple residential and/or business

        addresses and/or vehicles to avoid discovery and apprehension.

     e. Based on my training and experience, individuals engaged in these offenses often

        possess and/or maintain firearms, stolen checks, materials discarded from stolen

        mail, check-washing substances, proceeds of the fraud in their vehicles and at their

        residence(s).




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                                The October 21, 2023 Robberies

       7.      On or about October 21, 2023, Inspectors responded to two different reports of

USPS Letter Carriers being robbed at gun point for their USPS Arrow Keys.

       8.      Robbery 1. The first armed robbery occurred at approximately 12:40 PM on

October 21, 2023 at or near 3302 Hanna Avenue, Cincinnati, OH 45211. A vehicle stopped at

the stop sign located at the intersection of Glenmore Avenue and Hanna Avenue. A black male

suspect exited the vehicle from the rear passenger side and confronted a USPS Letter Carrier

who was delivering mail. The armed suspect demanded USPS Arrow Key from the Letter

Carrier. The suspect displayed a handgun to the Letter Carrier and said, “give me the key, I ain’t

playing.” The Letter Carrier complied and gave the suspect the US Mail Arrow Key. The suspect

then reentered the vehicle after obtaining the key.

       9.      Video surveillance of the robbery showed a silver Jeep Grand Cherokee with what

appears to be a temporary Ohio license plate, ten spoke grey or silver rims, a green and white

front advertisement license plate, dark tinted windows and a missing piece of trim over the rear

driver-side wheel well. Additional video surveillance footage confirmed the vehicle traveled

north or Cella Drive and made a left onto Nandale Drive. A still image of the vehicle is below:




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       10.     On or about October 24, 2023, Inspectors obtained video surveillance footage

from an apartment complex located at 3143 Glenmore Avenue, Cincinnati, OH 45211 which is

about 110 feet from the Hanna Avenue robbery location. The video footage confirmed a silver

SUV did stop at the stop sign and an individual did exit the vehicle as the Letter Carrier moved

toward the rear of the stopped vehicle. Additional video surveillance footage confirmed the

vehicle had performed a U-turn in the parking lot behind apartment building 3143 approximately

three minutes prior to the robbery. The silver Jeep had a front license plate advertisement, dark

tinted windows, silver/gray 10 spoke rims and a missing piece of trim over the driver-side rear

wheel well. A still image taken of the vehicle is included below:




       11.     Robbery 2. The second armed robbery occurred at approximately 3:40PM near

3296 Harry Lee Lane, Cincinnati, OH 45239 on October 21, 2023. A vehicle was parked on the

street in front of the residence of 3296 Harry Lee Lane. A black male suspect with a firearm

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exited the vehicle and approached a USPS Letter Carrier who was delivering mail. The armed

suspect told the Letter Carrier, “Keys. Give me your keys.” The Letter Carrier complied and

gave the key set to the suspect, which included the US Mail Arrow Key. After the suspect

obtained the key set, he reentered the vehicle through the rear passenger door.

       12.     Video surveillance of the second robbery showed what appeared to be the same

silver Jeep Grand Cherokee with an Ohio temporary license plate, ten spoke grey or silver rims, a

colored front license plate, dark tinted windows and a missing piece of trim over the rear driver-

side wheel well.

       13.     Inspectors searched license plate readers (LPR) for vehicles matching the

description of the vehicle used during the armed robberies. Inspectors were able to locate a

silver Jeep Grand Cherokee bearing Ohio temporary tag Q748973, here within referred to as the

VEHICLE, traveling Northbound on Mill Road near Waycross Road at approximately 3:59PM

on October 21, 2023. The LPR camera that captured the VEHICLE is approximately a 15–20-

minute drive from the second robbery location. It should be noted the second robbery occurred at

approximately 3:40PM.

       14.     Inspectors searched the Ohio temporary tag Q748973 in the National Crime

Information Center database (NCIC) for information regarding the owner of the VEHICLE.

Information received from the system indicated the VEHICLE is registered to ANTONIO

TOOMBS at 11755 Norbourne Drive, Apartment 218, Cincinnati, OH 45240 (the PREMISES).

His mother is listed as a co-owner. The LPR camera that captured the VEHICLE approximately

15 minutes after the robbery on Mill Road and Waycross Road is approximately a two-minute

drive from TOOMBS’ registered residence at the PREMISES.



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         15.   On or about October 23, 2023, Inspectors conducted surveillance near the

PREMISES (11755 Norbourne Drive) and found the VEHICLE parked in the parking lot

adjacent to the apartment building containing apartment 218.

         16.   The VEHICLE had the same characteristics as the vehicle captured on video

surveillance at the robbery on Hanna Avenue and the robbery on Harry Lee Lane including a

matching front license plate advertisement, an Ohio temporary license plate, dark tinted

windows, silver/gray 10 spoke rims and a missing piece of trim over the rear driver-side wheel

well. A photograph captured during surveillance of VEHICLE at the PREMISES is included

below:




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       17.     USPIS obtained search warrants through the U.S. District Court for the Southern

District of Ohio for Toombs’ apartment and Toombs’ silver Jeep.

       18.     On October 30, 2023, a search warrant was executed at Toombs’ residence.

Within the apartment, Inspectors recovered a bookbag in Toombs’ bedroom that contained an ID

for LORENZO BRANDON and the USPS arrow key stolen during Robbery #2 on October 21,

2023. The USPS arrow key was found in a backpack containing the State Identification of

LORENZO BRANDON.

       19.     In addition, law enforcement recovered three handguns, personal and business

checks which did not belong to either Toombs or Brandon, debit cards in names other than

Toombs and Brandon, a printer, a bottle of “HEET” antifreeze, and two empty bottles of acetone.

       20.     Based on my training and experience, the items found in Toombs’ apartment,

including the stolen U.S. Mail arrow key, are consistent with mail theft. The items give the

means and ability to steal checks from blue collection boxes, as well as wash and/or alter the

stolen checks using the “HEET” or acetone.

       21.     On October 30, 2023, Toombs was interviewed by Inspectors. Toombs denied

involvement and stated he was asleep in his apartment on October 21st during the time of the

robberies. Toombs said he sometimes allowed his friends to drive his vehicle without him.

Toombs stated when he woke up around 4 or 5 PM that day, his Jeep was gone. He stated he

drove his other car to work instead. Toombs was unsure who would have taken his Jeep but said

BRANDON and he were the only two in the apartment before he went to bed. Toombs stated he

did not give anyone permission to drive his vehicle that day.

       22.     Your affiant believes that there is probable cause to establish that LORENZO

BRANDON attempted and committed the offenses of 18 U.S.C. § 371 (Conspiracy), 18 U.S.C. §

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1704 (theft of mail key), 18 U.S.C. § 2114(a) (Robbery of U.S. Property with Dangerous

Weapon), and 18 U.S.C. § 924(o) (Conspiracy to Use Firearm During and in Relation to a Crime

of Violence).

                                                Respectfully submitted,



                                                Brett Yenger
                                                Postal Inspector
                                                United States Postal Investigation Service

       Subscribed and sworn to before me by reliable electronic means on
       November ______,
                   20    2023.


       _________________________________________
       HONORABLE STEPHANIE K. BOWMAN
       UNITED STATES MAGISTRATE JUDGE




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